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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN

 JASON R. DODD,

          Plaintiff,                                                    ORDER
    v.
                                                                Case No. 20-cv-913-wmc
 DR. SALAM SYED, et al.

          Defendants.


         Plaintiff Jason R. Dodd, a prisoner in the custody of the Wisconsin Department of

Corrections, has submitted a proposed civil action under 42 U.S.C. § 1983. Plaintiff has filed

a certified copy of a trust fund account statement in support of the motion for leave to proceed

without prepaying the fee. After considering the motion and supporting documentation, the

court concludes that plaintiff qualifies for indigent status.

         Even when a prisoner litigant qualifies for indigent status, the litigant must pay a

portion of the fee returned by the formula set forth in 28 U.S.C. § 1915(b)(1).            Using

information for the relevant time period from plaintiff’s trust fund account statement, I

conclude plaintiff’s initial partial filing fee to be $42.22. For this case to proceed, plaintiff

must submit this amount on or before October 26, 2020.

         If plaintiff does not have enough money to make the initial partial payment from

plaintiff’s regular account, plaintiff should arrange with authorities to pay the remainder from

plaintiff’s release account.
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                                             ORDER

       IT IS ORDERED that,

       1.      Plaintiff Jason R. Dodd is assessed $42.22 as an initial partial payment of the

$350.00 fee for filing this case. Plaintiff is to submit a check or money order made payable to

the clerk of court in the amount of $42.22 or advise the court in writing why plaintiff is not

able to submit the assessed amount on or before October 26, 2020.

       2.      If, by October 26, 2020, plaintiff fails to make the initial partial payment or

show cause for failure to do so, plaintiff will be held to have withdrawn this action voluntarily

and the case will be closed without prejudice to plaintiff filing this case at a later date.

       3.      No further action will be taken in this case until the clerk’s office receives

plaintiff’s initial partial filing fee as directed above and the court has screened the complaint

as required by the Prison Litigation Reform Act, 28 U.S.C. § 1915A. Once the screening

process is complete, a separate order will issue.




               Entered this 2nd day of October, 2020.

                                      BY THE COURT:


                                      /s/
                                      PETER OPPENEER
                                      Magistrate Judge




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